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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                      SEATTLE DIVISION
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10
     ANDREW C. BUCHANAN,                              CASE NO. 2:21-cv-01369
11
                             Plaintiff,               COMPLAINT FOR COPYRIGHT
12
                 v.                                   INFRINGEMENT (INJUNTIVE RELIEF
13                                                    DEMANDED)
   REALOGICS BROKERAGE, LLC and
14 PAMELA N. BELLAH,

15                           Defendants.
16

17          Plaintiff ANDREW C. BUCHANAN by and through his undersigned counsel, brings this

18 Complaint against Defendants REALOGICS BROKERAGE, LLC AND PAMELA N. BELLAH
19 for damages and injunctive relief, and in support thereof states as follows:

20
                                          SUMMARY OF THE ACTION
21
            1.         Plaintiff ANDREW C. BUCHANAN (“Buchanan”) brings this action for
22
     violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute
23
     Buchanan's original copyrighted Work of authorship. Buchanan licenses his copyrighted Works,
24

25 such as the one in this case, to real estate associates and brokerages for use in connection with

26 promoting real estate listings.

                                                     1
     COMPLAINT FOR COPYRIGHT INFRINGEMENT        SRIPLAW
                                                                        21301 POWERLINE ROAD, SUITE 100
                                                                                  BOCA RATON, FL 33433
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            2.      For the past 21 years, Seattle architectural photographer Andrew Buchanan offers
 1

 2 photography of architecture, interiors, commercial & public spaces, and other built environments

 3 to design and marketing professionals, hotels and resorts, developers, magazines, and advertisers

 4 needing compelling, graphic photos. Over 300 firms have trusted him to feature their best

 5
     projects. He specializes in architectural and interiors photography, helicopter aerial
 6
     photography, land design photography, and hotel & resort photography throughout Washington,
 7
     Oregon, and nationwide.
 8
            3.      Defendant REALOGICS BROKERAGE, LLC (“Realogics”) is a licensed real
 9

10 estate corporation and broker.

11          4.      Defendant PAMELA N. BELLAH (“Bellah”) is a real estate associate licensed in
12 the state of Washington, who is an employee under the brokerage of Realogics.

13
            5.      Realogics and Bellah are collectively referred to herein as “Defendants.”
14
            6.      Buchanan alleges that Defendants obtained Buchanan's copyrighted Work from
15
     the internet or prior listings for other properties on multiple listing services of which Defendants
16

17 are members in order to carry out their activities as a professional real estate agent and broker.

18 Defendants copied Buchanan's copyrighted Work from the internet or prior real estate listings
19 without Buchanan's permission. The prior real estate listings that Defendants may have used to

20 copy Buchanan's copyrighted Work are available to all professional licensed real estate

21
     associates and brokers who are members of the multiple listing service where the photos were
22
     posted, and they are also available publicly on the internet.
23
            7.      Defendants distributed Buchanan's copyrighted Work also without Buchanan's
24

25 permission, such as through real estate listings on multiple listing services. Defendants

26 committed the violations alleged by copying and distributing Buchanan's copyrighted Work in

                                                      2
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     connection with Defendants’ real estate listing posted on one or more multiple listing services for
 1

 2 purposes of advertising and promoting public real estate listings in the course and scope of

 3 Defendants’ professional real estate businesses.

 4           8.       Defendant Realogics, the broker for Bellah appears as listing broker on the real
 5
     estate listing where Bellah committed the violations of Buchanan's exclusive rights under the
 6
     copyright act.
 7
             9.       Buchanan's Work is protected by copyright but is not otherwise confidential,
 8
     proprietary, or trade secrets.
 9

10                                     JURISDICTION AND VENUE

11           10.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

12           11.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.
13 §§ 1331, 1338(a).

14
             12.      Defendants are subject to personal jurisdiction in Washington.
15
             13.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)
16
     because the events giving rise to the claims occurred in this district, Defendants engaged in
17

18 infringement in this district, Defendants reside in this district, and Defendants are subject to
19 personal jurisdiction in this district.

20                                             DEFENDANTS
21           14.      Realogics Brokerage, LLC is a Washington Limited Liability Company with its
22
     principal place of business at 2609 First Ave, Seattle, Washington, 98121, and can be served by
23
     serving its Registered Agent, Mr. Dean Jones, 2715 1st Avenue, Seattle, Washington, 98121.
24

25

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                                                       3
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             15.     Pamela N. Bellah is a Washington licensed real estate sales associate, License
 1

 2 Number 23472, who resides in King County, Washington, and can be served at 13418 209th SE

 3 Avenue, Issaquah, Washington, 98027.

 4                              THE COPYRIGHTED WORK AT ISSUE
 5           16.     In 2007, Buchanan created the photograph entitled df011003_aerial Seattle
 6
     waterfront photo, which is shown below and referred to herein as the “Work”.
 7

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21
             17.     Buchanan registered the Work with the Register of Copyrights on July 20, 2007
22

23 and was assigned the registration number VA 1-421-731. The Certificate of Registration is

24 attached hereto as Exhibit 1.

25           18.     Buchanan's Work is protected by copyright but is not otherwise confidential,
26
     proprietary, or trade secrets.
                                                      4
     COMPLAINT FOR COPYRIGHT INFRINGEMENT        SRIPLAW
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            19.     At all relevant times Buchanan was the owner of the copyrighted Work at issue in
 1

 2 this case.

 3                               INFRINGEMENT BY DEFENDANTS

 4          20.     The Defendants have never been licensed to use the Work at issue in this action
 5 for any purpose.

 6
            21.     On a date after the Work at issue in this action was created, but prior to the filing
 7
     of this action, Defendants copied, displayed, or distributed the Work or made derivative works
 8
     from the Work.
 9

10          22.     Defendants copied Buchanan's copyrighted Work from prior listings for other

11 properties on multiple listing services of which Defendants are members, obtained the Work

12 from the internet, or from other real estate associates.

13          23.     After Defendants copied the Work, they made further copies and distributed the
14
     Work on, inter alia, one or more multiple listing services or the internet to promote the sale of the
15
     property depicted in the Work or similar properties as part of their professional real estate
16
     businesses.
17

18          24.     Defendants copied and distributed Buchanan's copyrighted Work in connection

19 with their real estate listing posted on one or more multiple listing services or the internet for

20 purposes of advertising and promoting public real estate listings in the course and scope of

21
     Defendants’ professional real estate businesses, and in the course and scope of rendering
22
     professional real estate services as associates and brokers.
23
            25.     Defendants committed copyright infringement of the Work as evidenced by the
24
     documents attached hereto as Exhibit 2.
25

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                                                      5
     COMPLAINT FOR COPYRIGHT INFRINGEMENT         SRIPLAW
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             26.     Buchanan never gave the Defendants permission or authority to copy, distribute
 1

 2 or display the Work at issue in this case, or create derivative works or the Work.

 3           27.     Buchanan notified the Defendants of the allegations set forth herein on March 29,

 4 2021. To date, Defendants have failed to respond to Plaintiff's Notice. A copy of the Notice to

 5
     Defendants is attached hereto as Exhibit 3.
 6
                                          COUNT I
 7                           COPYRIGHT INFRINGEMENT BY BELLAH

 8           28.     Plaintiff incorporates the allegations of paragraphs 1 through 27 of this Complaint
 9 as if more fully set forth herein.

10
             29.     Buchanan owns a valid copyright in the Work at issue in this case.
11
             30.     Buchanan registered the Work at issue in this case with the Register of Copyrights
12
     pursuant to 17 U.S.C. § 411(a).
13

14           31.     Bellah copied, displayed, and distributed the Work at issue in this case and made

15 derivatives of the Work without Buchanan's authorization in violation of 17 U.S.C. § 501.

16           32.     Bellah performed the acts alleged in the course and scope of their business
17
     activities.
18
             33.     Bellah's acts were willful.
19
             34.     Buchanan has been damaged.
20
             35.     The harm caused to Buchanan has been irreparable.
21

22                                    COUNT II
                   VICARIOUS COPYRIGHT INFRINGEMENT BY REALOGICS
23
             36.     Plaintiff incorporates the allegations of paragraphs 1 through 27 of this Complaint
24
     as if more fully set forth herein.
25

26           37.     Buchanan owns a valid copyright in the Work at issue in this case.

                                                      6
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            38.        Buchanan registered the Work at issue in this case with the Register of Copyrights
 1

 2 pursuant to 17 U.S.C. § 411(a).

 3          39.        Bellah copied, displayed and distributed the Work at issue in this case and made

 4 derivatives of the Work without Buchanan's authorization in violation of 17 U.S.C. § 501.

 5
            40.        Realogics had the right and ability to supervise the infringing activities of Bellah
 6
     alleged herein.
 7
            41.        Realogics had a direct financial interest in the infringing activities alleged herein.
 8
            42.        As a result of Realogics’s vicarious infringement as alleged above, Realogics
 9

10 obtained direct and indirect profits it would otherwise not have realized but for its infringement

11 of the Work.

12          43.        Realogics has continued to copy, display, and distribute the Work at issue with
13
     knowledge that such acts violate Buchanan's intellectual property rights.
14
            WHEREFORE, the Plaintiff prays or judgment against the Defendants Realogics
15
     Brokerage, LLC and Pamela N. Bellah that:
16

17          a.         Defendants and their officers, agents, servants, employees, affiliated entities, and

18 all of those in active concert with them, be preliminarily and permanently enjoined from
19 committing the acts alleged herein in violation of 17 U.S.C. § 501;

20          b.         Defendants be required to pay Plaintiff his actual damages and Defendants profits
21
     attributable to the infringement, or, at Plaintiff's election, statutory damages, as provided in 17
22
     U.S.C. § 504;
23
            c.         Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable
24

25 statutes sued upon;

26

                                                          7
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            d.     Plaintiff be awarded such other and further relief as the Court deems just and
 1

 2 proper; and

 3          e.     Plaintiff be awarded pre- and post-judgment interest.

 4                                           JURY DEMAND
 5          Plaintiff hereby demands a trial by jury of all issues so triable.
 6
     DATED: October 7, 2021                        Respectfully submitted,
 7

 8                                                 /s/ Joel B. Rothman
                                                   JOEL B. ROTHMAN
 9                                                 Washington Bar Number: 57717
10                                                 joel.rothman@sriplaw.com

11                                                 SRIPLAW
                                                   21301 Powerline Road, Suite 100
12                                                 Boca Raton, FL 33433
                                                   561.404.4350 – Telephone
13                                                 561.404.4353 – Facsimile
14
                                                   Attorneys for PlaintiffAndrew C. Buchanan
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